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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No.

  CHARLES CONNER, On Behalf of Himself and All Others Similarly Situated,

         Plaintiff,

  v.

  SENDGRID, INC.,
  WARREN ADELMAN,
  AJAY AGARWAL,
  FRED BALL,
  BYRON DEETER,
  SAMEER DHOLAKIA,
  ANNE RAIMONDI,
  HILARY SCHNEIDER, and
  SRI VISWANATH,

         Defendants.

                        CLASS ACTION COMPLAINT AND JURY DEMAND


         Plaintiff Charles Conner (“Plaintiff”), by and through his undersigned counsel, for his

  complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

  information and belief based upon, inter alia, the investigation of counsel as to all other allegations

  herein, as follows:

                                     NATURE OF THE ACTION

         1.      Plaintiff brings this class action on behalf of the public stockholders of SendGrid,

  Inc. (“SendGrid” or the “Company”) against SendGrid and its Board of Directors (the “Board” or

  the “Individual Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities

  Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and

  Exchange Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, promulgated thereunder and
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  to enjoin the vote on a proposed transaction, pursuant to which the Company will be acquired by

  Twilio Inc. (“Twilio”) through Twilio’s direct wholly owned subsidiary, Topaz Merger

  Subsidiary, Inc. (“Merger Sub”) (the “Proposed Transaction”).

        2.      On October 15, 2018, Twilio issued a press release announcing SendGrid and

  Twilio had entered into an Agreement and Plan of Merger dated October 15, 2018 to sell SendGrid

  to Twilio. Under the terms of the Merger Agreement, each SendGrid stockholder will receive

  0.485 of a share of Twilio Class A common stock for each share of SendGrid they own (the “Merger

  Consideration”). Based on the October 15, 2018 closing price of Twilio common stock, the

  implied value of the Merger Consideration is $36.92 per share. The Proposed Transaction is

  valued at approximately $2 billion.

        3.      On December 18, 2018, SendGrid filed a Schedule 14A Definitive Proxy Statement

  (the “Proxy Statement”) with the SEC. The Proxy Statement, which recommends that SendGrid

  stockholders vote in favor of the Proposed Transaction, omits and/or misrepresents material

  information concerning, among other things: (i) Morgan Stanley & Co. LLC’s (“Morgan Stanley”)

  potential conflicts of interest; and (ii) the valuation analyses prepared by Morgan Stanley in

  connection with the rendering of its fairness opinion. The failure to adequately disclose such

  material information constitutes a violation of Sections 14(a) and 20(a) of the Exchange Act as

  SendGrid stockholders need such material information in order to cast a fully-informed vote in

  connection with the Proposed Transaction.

        4.      In short, unless remedied, SendGrid’s public stockholders will be forced to make a

  voting decision on the Proposed Transaction without full disclosure of all material information

  concerning the Proposed Transaction being provided to them. Plaintiff seeks to enjoin the




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  stockholder vote on the Proposed Transaction unless and until such Exchange Act violations are

  cured.

                                    JURISDICTION AND VENUE

           5.     This Court has jurisdiction over the claims asserted herein for violations of Sections

  14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

  Section 27 of the Exchange Act.

           6.     This Court has jurisdiction over the defendants because each defendant is either a

  corporation that conducts business in and maintains operations within this District, or is an

  individual with sufficient minimum contacts with this District so as to make the exercise of

  jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

           7.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Plaintiff’s

  claims arose in this District, where a substantial portion of the actionable conduct took place, where

  most of the documents are electronically stored, and where the evidence exists. SendGrid is

  headquartered in this District. Moreover, each of the Individual Defendants, as Company officers

  or directors, either resides in this District or has extensive contacts within this District.

                                                PARTIES

           8.     Plaintiff is, and has been continuously throughout all times relevant hereto, the

  owner of SendGrid common stock.

           9.     Defendant SendGrid is a Delaware corporation, with its principal executive offices

  located at 1801 California Street, Suite 500, Denver, Colorado 80202. The Company provides

  cloud-based technology business management solutions to enterprises. SendGrid’s common stock

  trades on the New York Stock Exchange under the ticker symbol “SEND.”




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        10.       Defendant Warren Adelman (“Adelman”) has been a director of the Company since

  April 2014.

        11.       Defendant Ajay Agarwal (“Agarwal”) has been a director of the Company since

  November 2016.

        12.       Defendant Fred Ball (“Ball”) has been a director of the Company since April 2017.

        13.       Defendant Byron Deeter (“Deeter”) has been a director of the Company since

  January 2012.      Defendant Deeter has served as a partner of Bessemer Venture Partners

  (“Bessemer”), a venture capital firm, since 2005, and as a director of Twilio since 2010.

        14.       Defendant Sameer Dholakia (“Dholakia”) has been a director and Chief Executive

  Officer (“CEO”) of the Company since September 2014 and Chairman of the Board since

  September 2017.

        15.       Defendant Anne Raimondi (“Raimondi”) has been a director of the Company since

  February 2018.

        16.       Defendant Hilary Schneider (“Schneider”) has been a director of the Company

  since July 2017.

        17.       Defendant Sri Viswanath (“Viswanath”) has been a director of the Company since

  September 2017.

        18.       The defendants identified in paragraphs 10 through 17 are collectively referred to

  herein as the “Individual Defendants” or the “Board.”

                                  OTHER RELEVANT ENTITIES

        19.       Twilio is a Delaware corporation, with its principal executive offices located at 375

  Beale Street, Suite 300, San Francisco, California 94105. Twilio provides a cloud communications

  platform that enables developers to build, scale, and operate communications within software




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  applications in the United States and internationally. Twilio’s common stock is traded on the New

  York Stock Exchange under the ticker symbol “TWLO.”

         20.     Merger Sub is a Delaware corporation and a direct wholly owned subsidiary of

  Twilio.

                                 CLASS ACTION ALLEGATIONS

         21.     Plaintiff brings this action as a class action, pursuant to Federal Rule of Civil

  Procedure 23, on behalf of himself and the other public stockholders of SendGrid (the “Class”).

  Excluded from the Class are defendants herein and any person, firm, trust, corporation, or other

  entity related to or affiliated with any defendant.

         22.     This action is properly maintainable as a class action.

         23.     The Class is so numerous that joinder of all members is impracticable. As of

  December 13, 2018, there were approximately 47,659,204 shares of SendGrid common stock

  outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

  the country.

         24.     Questions of law and fact are common to the Class and predominate over questions

  affecting any individual Class member, including, inter alia:

                 (a)    Whether defendants have violated Section 14(a) of the Exchange Act and

  Rule 14a-9 promulgated thereunder;

                 (b)    Whether the Individual Defendants have violated Section 20(a) of the

  Exchange Act; and

                 (c)    Whether Plaintiff and the other members of the Class would suffer

  irreparable injury were the Proposed Transaction consummated.




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         25.      Plaintiff is committed to prosecuting this action and has retained competent counsel

  experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the other

  members of the Class and Plaintiff has the same interests as the other members of the Class.

  Accordingly, Plaintiff is an adequate representative of the Class and will fairly and adequately

  protect the interests of the Class.

         26.      The prosecution of separate actions by individual members of the Class would

  create the risk of inconsistent or varying adjudications that would establish incompatible standards

  of conduct for defendants, or adjudications that would, as a practical matter, be dispositive of the

  interests of individual members of the Class who are not parties to the adjudications or would

  substantially impair or impede those non-party Class members’ ability to protect their interests.

         27.      Defendants have acted, or refused to act, on grounds generally applicable to the

  Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

  behalf of the Class is appropriate.

                                  SUBSTANTIVE ALLEGATIONS

  Background of the Company

         28.      Founded in 2009, SendGrid operates as a digital communication platform in the

  United States and internationally. SendGrid’s cloud-based platform provides various tools to

  businesses, allowing their developers and marketers to seamlessly and effectively reach their

  customers using email.

         29.      SendGrid provides customers with three services: (1) Email Application

  Programming Interface (“API”); (2) Marketing Campaigns; and (3) Expert Services.                The

  Company’s Email API service allows developers to use SendGrid’s API in their preferred

  development framework to leverage SendGrid’s platform to add email functionality to their




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  applications within minutes. This service enables businesses to reliably send thousands or billions

  of emails, and incorporates proprietary technology and domain expertise to significantly improve

  deliverability rates. SendGrid’s Marketing Campaigns service allows marketers to upload and

  manage customer contact lists, create and test email templates, and then execute and analyze multi-

  faceted email campaigns that engage customers and drive growth. Its Expert Services help

  businesses further optimize their email delivery. For 2017, 2016, and 2015, revenue from

  SendGrid’s Email API service and its Marketing Campaigns service represented 80%, 79%, and

  79% and 13%, 9%, and 1% of the Company’s total revenue, respectively.

         30.     Following its November 2017 initial public offering, the Company has consistently

  generated positive results.

         31.     For example, on July 31, 2018, the Company announced its second quarter 2018

  financial results, including revenue of $35.7 million, a 32% increase over the second quarter of

  2017. SendGrid reported Email API revenue of $28.2 million, a 32% increase compared with the

  second quarter of 2017, representing 79% of total revenue. Its Marketing Campaigns revenue

  grew by 97% to $6.3 million compared with the second quarter of 2017 and represented 18% of

  total revenue. Non-GAAP adjusted net income was $2.8 million, or $0.05 per diluted share,

  compared with $0.55 million, or $0.01 per diluted share, in the second quarter of 2017, an increase

  of $2.3 million. In addition, the Company raised its full year and third quarter 2018 revenue

  outlook. For 2018, the Company raised its outlook to revenue in a range of $142.5 million to

  $144.0 million, and non-GAAP adjusted net income in a range of $7.0 million to $9.0 million. For

  the third quarter of 2018, the Company raised its outlook to revenue in a range of $35.9 million to

  $36.1 million, and non-GAAP adjusted net income in a range of $1.25 million to $1.75 million.

  Commenting on the successful quarter, defendant Dholakia was quoted as stating:




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         We had a strong second quarter, with accelerating sequential revenue growth,
         improving gross margins driving sharply higher profitability, and strong free-cash-
         flow generation . . . . We are pleased that our solid first half is carrying over into
         the second half, and we are raising our outlook for growth and profitability for the
         year.

         32.     On November 6, 2018, the Company announced its third quarter 2018 financial

  results, including revenue of $37.2 million, a 31% increase over the third quarter of 2017.

  SendGrid’s Email API revenue was $29.5 million, a 31% increase compared with the third quarter

  of 2017, representing 79% of total revenue, while its Marketing Campaigns revenue grew by 65%

  to $6.4 million compared with the third quarter of 2017, representing 17% of total revenue. Non-

  GAAP adjusted net income was $2.8 million, or $0.05 per diluted share, compared with $0.6

  million, or $0.02 per diluted share, in the third quarter of 2017, an increase of $2.2 million.

  The Proposed Transaction

         33.     On October 15, 2018, Twilio issued a press release announcing the Proposed

  Transaction, which states, in relevant part:

         SAN FRANCISCO--Twilio (NYSE:TWLO) and SendGrid today announced that
         they have entered into a definitive agreement for Twilio to acquire SendGrid in an
         all-stock transaction valued at approximately $2 billion. At the exchange ratio of
         0.485 shares of Twilio Class A common stock per share of SendGrid common
         stock, this price equates to approximately $36.92 per share based on today’s closing
         prices. The transaction is expected to close in the first half of 2019.

         Adding the leading email API platform to the leading cloud communications
         platform can drive tremendous value to the combined customer bases. The resulting
         company would offer developers a single, best-in-class platform to manage all of
         their important communication channels -- voice, messaging, video, and now email
         as well. Together, the companies currently drive more than half a trillion customer
         interactions annualized*, and growing rapidly.

         “Increasingly, our customers are asking us to solve all of their strategic
         communications challenges - regardless of channel. Email is a vital
         communications channel for companies around the world, and so it was important
         to us to include this capability in our platform,” said Jeff Lawson, Twilio’s co-
         founder and chief executive officer. “The two companies share the same vision, the
         same model, and the same values. We believe this is a once-in-a-lifetime



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         opportunity to bring together the two leading developer-focused communications
         platforms to create the unquestioned platform of choice for all companies looking
         to transform their customer engagement.”

                                            ***

         Under the terms of the transaction, Twilio Merger Subsidiary, Inc., a Delaware
         corporation and a wholly-owned subsidiary of Twilio, will be merged with and into
         SendGrid, with SendGrid surviving as a wholly-owned subsidiary of Twilio. At
         closing, each outstanding share of SendGrid common stock will be converted into
         the right to receive 0.485 shares of Twilio Class A common stock, which represents
         a per share price for SendGrid common stock of $36.92 based on the closing price
         of Twilio Class A common stock on October 15, 2018. The exchange ratio
         represents a 14% premium over the average exchange ratio for the ten calendar
         days ending, October 15, 2018.

         The transaction is expected to close in the first half of 2019, subject to the
         satisfaction of customary closing conditions, including shareholder approvals by
         each of SendGrid’s and Twilio’s respective stockholders and the expiration of the
         applicable waiting period under the Hart-Scott-Rodino Antitrust Improvements
         Act. Certain stockholders of SendGrid owning approximately 6% of the
         outstanding SendGrid shares have entered into voting agreements and certain
         stockholders of Twilio who control approximately 33% of total Twilio voting
         power have entered into voting agreements, or proxies, pursuant to which they have
         agreed, among other things, and subject to the terms and conditions of the
         agreements, to vote in favor of the SendGrid acquisition and the issuance of Twilio
         shares in connection with the SendGrid acquisition, respectively.

  The Proxy Statement Contains Material Misstatements and Omissions

        34.     The defendants filed a materially incomplete and misleading Proxy Statement with

  the SEC and disseminated it to SendGrid’s stockholders. The Proxy Statement misrepresents or

  omits material information that is necessary for the Company’s stockholders to make an informed

  decision whether to vote in favor of the Proposed Transaction.

        35.     Specifically, as set forth below, the Proxy Statement fails to provide Company

  stockholders with material information or provides them with materially misleading information

  concerning: (i) Morgan Stanley’s potential conflicts of interest; and (ii) the valuation analyses

  prepared by Morgan Stanley in connection with the rendering of its fairness opinion. Accordingly,




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  SendGrid stockholders are being asked to make a voting decision in connection with the Proposed

  Transaction without all material information at their disposal.

  Material Omissions Concerning Morgan Stanley’s Potential Conflicts of Interest

        36.      The Proxy Statement fails to disclose material information concerning the potential

  conflicts of interest faced by Morgan Stanley in serving as the Company’s financial advisor.

        37.      The Proxy Statement sets forth:

         In the two years prior to the date of Morgan Stanley’s opinion, Morgan Stanley and
         its affiliates have provided financial advisory and financing services to SendGrid,
         and have received aggregate fees of approximately $7 million in connection with
         such services. Morgan Stanley may seek to provide financial advisory and
         financing services to Twilio, SendGrid and their respective affiliates in the future
         and would expect to receive fees for the rendering of these services.

  Proxy Statement at 139. The Proxy Statement fails, however, to disclose whether Morgan Stanley

  has provided any services to Twilio in the two years prior to the date of its opinion, as well as the

  timing and nature of such services and the amount of compensation received by Morgan Stanley

  for such services.

        38.      Full disclosure of all potential conflicts concerning investment bankers is required

  due to the central role played by investment banks in the evaluation, exploration, selection, and

  implementation of strategic alternatives.

        39.      The omission of this information renders the statements in the “Opinion of

  SendGrid’s Financial Advisor, Morgan Stanley & Co. LLC” section of the Proxy Statement false

  and/or materially misleading in contravention of the Exchange Act.

  Material Omissions Concerning Morgan Stanley’s Financial Analyses

        40.      The Proxy Statement describes Morgan Stanley’s fairness opinion and the various

  valuation analyses it performed in support of its opinion. However, the description of Morgan

  Stanley’s fairness opinion and analyses fails to include key inputs and assumptions underlying



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  these analyses. Without this information, as described below, SendGrid’s public stockholders are

  unable to fully understand these analyses and, thus, are unable to determine what weight, if any,

  to place on Morgan Stanley’s fairness opinion in determining whether to vote in favor of the

  Proposed Transaction. This omitted information, if disclosed, would significantly alter the total

  mix of information available to SendGrid’s stockholders.

        41.      With respect to Morgan Stanley’s SendGrid and Twilio Discounted Equity Value

  Analysis, the Proxy Statement fails to disclose quantification of the inputs and assumptions

  underlying the discount rates of 11.8% and 10.4%, respectively.

        42.      With respect to Morgan Stanley’s SendGrid Discounted Cash Flow Analysis, the

  Proxy Statement fails to disclose: (i) quantification of the inputs and the assumptions underlying

  the discount rate range of 10.8% to 12.8%; (ii) Morgan Stanley’s basis for applying a range of

  perpetual growth rates of 3.0% to 4.0%; and (iii) SendGrid’s cash and outstanding debt utilized to

  derive the implied equity value.

        43.      With respect to Morgan Stanley’s Twilio Discounted Cash Flow Analysis, the

  Proxy Statement fails to disclose: (i) quantification of the inputs and assumptions underlying the

  discount rate range of 9.2% to 11.1%; (ii) Morgan Stanley’s basis for applying a range of perpetual

  growth rates of 3.0% to 4.0%; and (iii) Twilio’s net cash and outstanding debt.

        44.      With respect to Morgan Stanley’s Precedent Transaction Multiples Analysis, the

  Proxy Statement fails to disclose the individual multiples and financial metrics for the transactions

  observed by Morgan Stanley in the analysis.

        45.      With respect to Morgan Stanley’s Analyst Price Targets analysis, the Proxy

  Statement fails to disclose the individual price targets for the Company and Twilio as observed by

  Morgan Stanley.




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        46.      The omission of this information renders the statements in the “Opinion of

  SendGrid’s Financial Advisor, Morgan Stanley & Co. LLC” section of the Proxy Statement false

  and/or materially misleading in contravention of the Exchange Act.

        47.      The Individual Defendants were aware of their duty to disclose the above-

  referenced omitted information and acted negligently (if not deliberately) in failing to include this

  information in the Proxy Statement. Absent disclosure of the foregoing material information prior

  to the stockholder vote on the Proposed Transaction, Plaintiff and the other members of the Class

  will be unable to make a fully-informed voting decision in connection with the Proposed

  Transaction and are thus threatened with irreparable harm warranting the injunctive relief sought

  herein.

                                              COUNT I

            Class Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and SEC Rule 14a-9 Promulgated Thereunder

        48.      Plaintiff incorporates by reference and realleges each and every allegation

  contained above, as though fully set forth herein.

        49.      During the relevant period, defendants disseminated the false and misleading Proxy

  Statement specified above, which failed to disclose material facts necessary in order to make the

  statements made, in light of the circumstances under which they were made, not misleading in

  violation of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

        50.      By virtue of their positions within the Company, the defendants were aware of this

  information and of their duty to disclose this information in the Proxy Statement. The Proxy

  Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

  and/or omitted material facts, including material information about potential conflicts of interest

  faced by the Company’s financial advisor and the financial analyses performed by the Company’s



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  financial advisor. The defendants were at least negligent in filing the Proxy Statement with these

  materially false and misleading statements.

        51.      The omissions and false and misleading statements in the Proxy Statement are

  material in that a reasonable stockholder would consider them important in deciding how to vote

  on the Proposed Transaction.

        52.      By reason of the foregoing, the defendants have violated Section 14(a) of the

  Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

        53.      Because of the false and misleading statements in the Proxy Statement, Plaintiff

  and the Class are threatened with irreparable harm, rendering money damages inadequate.

  Therefore, injunctive relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                       Class Claims Against the Individual Defendants for
                         Violation of Section 20(a) of the Exchange Act

        54.      Plaintiff incorporates by reference and realleges each and every allegation

  contained above, as though fully set forth herein.

        55.      The Individual Defendants acted as controlling persons of SendGrid within the

  meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

  officers and/or directors of SendGrid and participation in and/or awareness of the Company’s

  operations and/or intimate knowledge of the false statements contained in the Proxy Statement

  filed with the SEC, they had the power to influence and control and did influence and control,

  directly or indirectly, the decision-making of the Company, including the content and

  dissemination of the various statements which Plaintiff contends are false and misleading.

        56.      Each of the Individual Defendants was provided with or had unlimited access to

  copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to



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  and/or shortly after these statements were issued and had the ability to prevent the issuance of the

  statements or cause the statements to be corrected.

         57.     In particular, each of the Individual Defendants had direct and supervisory

  involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

  the power to control or influence the particular transactions giving rise to the securities violations

  as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

  recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

  were, thus, directly involved in the making of this document.

         58.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

  Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

  Transaction. The Proxy Statement purports to describe the various issues and information that

  they reviewed and considered—descriptions which had input from the directors.

         59.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

  of the Exchange Act.

         60.     As set forth above, the Individual Defendants had the ability to exercise control

  over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-

  9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their

  positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the

  Exchange Act. As a direct and proximate result of defendants’ conduct, SendGrid’s stockholders

  will be irreparably harmed.

                                       PRAYER FOR RELIEF




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         WHEREFORE, Plaintiff demands injunctive relief, in his favor and in favor of the Class

  and against defendants as follows:

         A.      Ordering that this action may be maintained as a class action and certifying Plaintiff

  as the Class representative and Plaintiff’s counsel as Class counsel;

         B.      Preliminarily and permanently enjoining defendants and all persons acting in

  concert with them from proceeding with, consummating, or closing the Proposed Transaction and

  any vote on the Proposed Transaction;

         C.      In the event defendants consummate the Proposed Transaction, rescinding it and

  setting it aside or awarding rescissory damages to Plaintiff and the Class;

         D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

  Plaintiff’s attorneys’ and experts’ fees; and

         E.      Granting such other and further relief as this Court may deem just and proper.

                                           JURY DEMAND

         Plaintiff demands a trial by jury on all claims and issues so triable.

   Dated: January 3, 2019                            Respectfully submitted,

                                                     /s/ Richard A. Acocelli
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